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                           U !TED STATES DISTRICT COURT
                           \\ ESTERN DISTRICT OF MICHIGAN
                                  SOUTHER DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                             CASE NO . l :20-CR-183
v.
                                                             HON. ROBERT J. JONKER
ADAM DEAN FOX,

              Defendant.
                                          I
- - - - -- - - - - -- --

                                      V ERDICT FORM

We, the members of the jury, unanimously find as follows:
I.     As to Co unt I , charging that the defendant, Adam Dean Fox, committed the crime of
Conspiracy to Commit Kidnapping, we unanimously find the defendant :


                             --EJ Mot uulhy          - -6-uutlty



II.    As to Cou nt 2, charging that the defendant, Adam Dean Fox, committed the crime of
Conspiracy to Use a eapon of Mass Destruction, we unanimously find the defendant:

                              -GJ-w0t-Gl:li-M--V--   -   B-6ui lry-




DATED:    i/~E-
                                                 Juror# 58
                                                 JURY FOREPERSON




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